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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND


 LESTER LEE,

          PLAINTIFF

 v.
                                                           Case No. 8:24-cv-01205-TJS
 BROOKSIDE PARK CONDOMINIUM,
 INC., METROPOLIS (aka MCM, INC.),
 RAMMY AZOULAY AND LAMONT
 SAVOY

          DEFENDANTS


                                   ENTRY OF APPEARANCE


         Please enter the appearance of Henry T. Carkhuff as additional counsel for Defendants

Brookside Park Condominium, Inc., Metropolis (aka MCM, Inc.), and Rammy Azoulay. Anthony

D. Dwyer and Eccleston and Wolf, P.C. remain as counsel for Defendants Brookside Park

Condominium, Inc., Metropolis (aka MCM, Inc.), and Rammy Azoulay.




  Respectfully submitted,                         Respectfully submitted,

  /s/Anthony D. Dwyer                             /s/Henry T. Carkhuff
  Anthony D. Dwyer (Bar No. 07397)                Henry T. Carkhuff (Bar No. 31348)
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  Inc.), and Rammy Azoulay                        Condominium, Inc., Metropolis (aka MCM,
                                                  Inc.), and Rammy Azoulay


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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 24, 2025, copies of the foregoing Entry of

Appearance were served electronically through CM/ECF to all parties/counsel of record.




                                                  /s/Henry T. Carkhuff
                                                  Henry T. Carkhuff (Bar No. 31348)




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